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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

 SCOTTSDALE CAPITAL ADVISORS
 CORPORATION and ALPINE
 SECURITIES CORPORATION,
                                                 Case No.:
       Plaintiffs,

 v.

 FINANCIAL INDUSTRY
 REGULATORY AUTHORITY, INC.,

       Defendant.
 ___________________________              /

      COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

      Plaintiffs, Scottsdale Capital Advisors Corporation (“SCA”) and Alpine

Securities Corporation (“Alpine”) (collectively, “Plaintiffs”), by and though their

undersigned attorneys, sue Financial Industry Regulatory Authority, Inc. (“FINRA”)

and allege as follows:

                                   INTRODUCTION

      1.       In this action, Plaintiffs challenge the unconstitutional operation and

structure of FINRA which has garnered and now wields massive power and

governmental authority over the securities broker-dealer industry and the financial

markets without adherence to the United States Constitution.

      2.       Plaintiffs have standing to assert these claims because they are regulated

parties, have experienced the direct impact of FINRA’s unconstitutional operations,
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and have suffered and will continue to suffer injury and damage as a result of its

actions.

      3.       Plaintiffs’ claims are not predicated upon a challenge to the application

of any particular FINRA rule as applied to Plaintiffs or upon any particular FINRA

action taken against Plaintiffs. Rather, the claims asserted in this case challenge the

constitutionality of FINRA’s structure and its very existence. As such, Plaintiffs’

claims are collateral to any administrative proceeding involving Plaintiffs, any

administrative review process, and the administrative review structure set forth in the

Section 15A of the Securities Exchange Act of 1934 (the “Act”). The claims asserting

constitutional violations are beyond the expertise of FINRA and are appropriately

before this Court.

      4.       FINRA is an entity empowered by Congress through the Act to enforce

federal securities laws and regulate the securities industry.

      5.       However, FINRA’s current structure and operations, particularly in light

of the transformation of the organization over the course of the last two decades,

contravene the separation of powers, violate the Appointments Clause of the United

States Constitution (the “Constitution”) and constitute an impermissible delegation of

powers. Because it purports to be a private entity, FINRA is unaccountable to the

President of the United States (the “President,” or “POTUS”), lacks transparency, and

operates in contravention of the authority under which it was formed. It utilizes its

own in-house tribunals in a manner contrary to Article III and the Seventh




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Amendment of the Constitution and deprives entities and individuals of property

without due process of law.

      6.       FINRA wields expanded and comprehensive governmental police

power, including the power to “enforce compliance” with the Act and other federal

securities laws, to regulate the conduct of its members through rulemaking and

adjudication, and to set its own budget and to fund its own operations by fixing and

levying a tax on its membership.

      7.       For example, FINRA has the power and discretion to promulgate rules

and standards and the ability to enforce compliance with those rules and standards by

levying fines on its members and barring its members from the industry.

      8.       In connection with these open-ended powers, FINRA’s Board of

Governors (the “Board” or “FINRA’s Board”) has the power to set FINRA’s budget

at any level desired and to fund its operation through the collection of a “fee” levied

on its members and by imposing “penalties” on its members. In 2021, for example,

FINRA extracted more than $100 million in fines from its members, most of whom

capitulate to FINRA’s allegations and penalties precisely because of the enormous and

unchecked power that it wields. FINRA has the authority to use the amounts that it

collects to set its own salaries and is incentivized to continuously increase the amounts

of penalties it imposes, expending those funds inter alia on exorbitant salaries of more

than $3,000,000.00 per year to its Chief Executive Officer and over $1,000,000.00 per

year to its Chief Financial Officer, Chief Legal Officer, Head of Member Supervision

and Chief of Exams.

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       9.       FINRA also deploys its broad powers to impose burdensome, arbitrary,

and ill-defined standards that it requires its members to follow, and it enforces those

standards in an arbitrary, discriminatory, and unfair manner, all of which ultimately

harms the investing public.

       10.      While FINRA came into existence as a “self-regulatory” organization, it

has been transformed into an organization operated and controlled by non-members

that exercises vast governmental authority while failing to comply with its enabling

act.

       11.      FINRA’s failure to abide by fundamental constraints on the delegation

and exercise of governmental authority has caused and will continue to cause

profound injury to participants in the securities industry, to the markets, and to the

investors that FINRA claims to protect.

       12.      Over the last twenty years, FINRA’s initial formative structure, purpose,

authority, and powers, which focused on regulating members within the narrow

parameters set by FINRA rules, have transformed into a “for-profit” behemoth that is

incentivized to and does exercise its unchecked power in a manner that maximizes its

profits while avoiding any actual accountability to the executive branch.

       13.      As a result of its characteristics and conduct, and notwithstanding

FINRA’s purported status as a private corporation, FINRA is a governmental entity

and state actor subject to the limits of the United States Constitution, including the

Constitution’s separation of powers principles, the requirements of the Appointments




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Clause, the Seventh Amendment, and the obligation to provide due process of law

when depriving an individual of his livelihood or an entity of its property.

      14.    Further, because FINRA exercises governmental powers, it is, for

constitutional purposes, part of the federal government, and its employees — who

exercise significant authority pursuant to the laws of the United States — are officers

of the United States.

      15.     FINRA and its officers are, however, not adhering to the Constitutional

requisites that are essential for the proper oversight and function of any governmental

entity that wields such enormous power, controls the livelihood of so many

professionals and businesses, and impacts the market every day.

      16.    Despite its vast authority and the far-reaching consequences of its

actions, FINRA is immune from the supervision and control of the President.

FINRA’s Board is not appointed or removable by the President or by the head of any

Executive Branch department answerable to the President. Thus, although FINRA

exercises significant, core governmental powers, the FINRA Board is selected in a

manner inconsistent with Article II of the Constitution.

      17.    Indeed, the one government agency charged with the duty of operating

as an Executive Branch “check” on FINRA’s actions, the Securities and Exchange

Commission (“SEC”), is empowered to and only exercises limited review and control

of FINRA’s governing body. The SEC may only remove members of the FINRA

Board if they have “willfully violated” applicable laws or regulations, “willfully




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abused” their authority, or “failed to enforce compliance” with applicable laws and

regulations “without reasonable justification or excuse.”

      18.    FINRA’s structure and operation, including its freedom from

Presidential oversight and control and the method by which its Board is appointed and

its in-house tribunals are constructed, contravene the separation of powers and the

Appointment Clause. For this reason, FINRA and all power and authority exercised

by FINRA violate the Constitution.

      19.    Similarly, FINRA’s use of an in-house judicial construct and its

employment of its adjudicators violates Article III of the Constitution and the Seventh

Amendment.

      20.    FINRA possesses and deploys improperly and unconstitutionally

delegated legislative power, including, but not limited to, its broad power to enact law,

its authority to set its own budget without any constraint or legislative cap, and its

authority to fund that budget through the imposition of a levy on all persons wishing

to conduct business in the over-the-counter (“OTC”) markets and, indirectly, on those

investors that wish to participate in those markets.

      21.    FINRA exercises its sweeping and coercive powers in a discriminatory

manner designed to disadvantage market participants who operate in sectors of the

markets that FINRA disfavors, particularly those like Plaintiffs whose business focuses

on the microcap market.

      22.    FINRA’s failure to adhere to the same Constitutional principles and

requisites as any other governmental entity is more than just a matter of principle and

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adherence to law. It is negatively impacting the markets, burdening competition and

impinging on the rights of investors and market participants. It has enabled FINRA to

improperly exercise its sweeping authority to constrain and control the operation of

securities firms, without regard for fundamental principles of free enterprise, the rights

of private parties to enter into contracts, or the prohibition against deprivation of

property without due process of law. It has enabled FINRA to create onerous and

often ambiguous rules and standards that increase costs for industry members that are

often passed on to investors.

      23.    FINRA’s actions have dramatically ratcheted up the regulatory,

compliance, and legal costs associated with operation of a member firm. As a result,

member firms are prevented from running their businesses in accordance with critical

basic economic principles applicable to pricing and commerce, while the individual

rights of market participants are affected as well.

                           JURISDICTION AND VENUE

      24.    This Court has jurisdiction over this case pursuant to 28 U.S.C. §§ 1331

and 2201.

      25.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and (e).

                                       PARTIES

      26.    SCA is a broker dealer that has a principal office in Scottsdale, Arizona,

as well as an office in the Middle District of Florida. SCA is a registered member of

and is regulated by FINRA.




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      27.    Alpine is a broker dealer with its principal office in Salt Lake City, Utah.

Alpine is a registered member of and is regulated by FINRA.

      28.    FINRA is a national securities association registered with the SEC

pursuant to 15 U.S.C. § 78s and is authorized thereunder to enforce the Exchange Act,

the SEC’s rules and regulations thereunder, and its own rules (all of which are

enforceable only by virtue of the SEC’s approval of such rules). FINRA is a Delaware

not-for-profit corporation with its principal place of business located at 1735 K Street

NW, Washington D.C. FINRA maintains offices and conducts business throughout

the United States, including in the State of Florida and in this District.

Notwithstanding, FINRA is an agency and/or establishment and/or instrumentality

of the United States.

                            GENERAL ALLEGATIONS

I.    The history of FINRA

      29.    In 1938, Congress passed the Maloney Act adding a new section 15A to

the Exchange Act that authorized associations of brokers or dealers meeting certain

statutory requirements to register with the SEC as a “national securities association.”

The Maloney Act’s voluntary national securities associations were to be the OTC

market counterparts to the regulatory arms of the exchanges (i.e., self-regulatory

organizations (“SRO”)).

      30.    As the SEC explained shortly after the Maloney Act’s passage, the act

embodied “the principle of conferring upon regulatory groups from business a primary

responsibility for enforcing high standards of business conduct upon their members . .

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. [by setting] up a system of regulation in the over-the-counter markets through the

formation of voluntary associations of investment bankers, dealers and brokers doing

business in these markets under appropriate Governmental supervision.” SEC, Fourth

Annual Report of the Securities and Exchange Commission: Fiscal Year Ended June 30, 1938

(Washington, D.C., SEC 1938), at 33. Thus, the purpose and intent of the legislation

was to rely on “voluntary associations” comprised of those who possess the knowledge

and practical experience borne of “doing business in these markets.”

      31.    A year later, the National Association of Securities Dealers (“NASD”)

became the first and only registered national securities association. Because no other

associations had registered with the SEC, the NASD was the only SRO with

“responsibility for enforcing … a system of regulation” for brokers and dealers in the

OTC markets.

      32.    In 1945, the NASD began requiring principal and customer-facing

employees of broker-dealers to register with the NASD.

      33.    In 1983, Congress mandated that broker-dealers wishing to conduct

business in the OTC markets must register with the NASD and become subject to the

NASD’s regulatory powers. Membership was no longer “voluntary.”

      34.    In addition to the NASD, the New York Stock Exchange (“NYSE”)

played a significant historic role as an SRO enforcing securities laws and implementing

a regulatory framework through its own rules.

      35.    In 2007, the Securities and Exchange Commission (the “SEC”) approved

a plan that merged the member regulation operations of the NASD and the NYSE.

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      36.    The NASD absorbed the regulatory arm of the NYSE and changed its

name to FINRA.

      37.    FINRA now oversees virtually every aspect of the securities industry,

regulating approximately 3,400 brokerage firms, 150,000 branch offices, and more

than 610,000 individual registered securities representatives.

II.   The enabling provisions

      38.    Pursuant to 15 U.S.C. § 78o(a)(1), brokers and dealers, both natural

persons and other than natural persons, are required to register with a registered

securities association in order to make use of the mails or any means or instrumentality

of interstate commerce to effect any transactions in, or to induce or attempt to induce

the purchase or sale of, any security (other than an exempted security or commercial

paper, bankers' acceptances, or commercial bills).

      39.    To participate in the securities industry, a broker dealer is required to

maintain its membership with FINRA—a purportedly private entity.

      40.    15 U.S.C. § 78o-3(b)(2) requires a registered securities association to have

the capacity to enforce compliance by its members and persons associated with its

members, with the provisions of the securities laws, the rules and regulations

thereunder, the rules of the Municipal Securities Rulemaking Board, and the rules of

the association.

      41.    15 U.S.C. § 78o-3(b)(7) requires a registered securities association to

implement rules that provide for the “discipline” of its members for violations of its

rules and the federal securities laws by “by expulsion, suspension, limitation of

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activities, functions, and operations, fine, censure, being suspended or barred from

being associated with a member, or any other fitting sanction.”

       42.   As a registered securities association, FINRA agreed to “comply with the

[Exchange Act] and its own rules,” (id. § 78s(g)(1)(A)) and to “enforce [such] compliance

. . . by its members and persons associated with its members” (id.; see also 15 U.S.C.

§ 78s(h) (emphasis added).

       43.   Thus, as alleged above, and as set forth in the relevant enabling

provisions of 15 U.S.C. § 78, FINRA is both empowered and required by Congress to

execute the laws of the United States.

III.   FINRA’s organization and operation violates the separation of powers

       44.   The United States Constitution provides that “[t]he executive Power

shall be vested in a President of the United States of America,” U.S. Const., art. II,

§ 1, and that “he shall take Care that the Laws be faithfully executed,” U.S. Const.,

art. II, § 3. These provisions vest all executive power, including the power to enforce

the law, in the President.

       45.   As alleged above, FINRA exercises wide-ranging executive power,

including the power to “enforce compliance” with the Act and the securities laws, to

enact rules and regulations, to conduct inspections of brokers and dealers, to conduct

investigations and disciplinary proceedings, and to impose sanctions and otherwise to

enforce compliance with the Act, the rules of FINRA, professional standards, and the

securities laws.




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      46.    FINRA’s exercise of executive and administrative power is immune from

Presidential supervision or control. FINRA’s Board is not appointed or removable by

the President.

      47.    FINRA’s Board is selected by FINRA’s members and can only be

removed by a majority vote of FINRA’s Board or, in limited circumstances, the SEC.

      48.    In particular, the SEC may remove members of FINRA’s Board only if

they have “willfully violated” applicable laws or regulations, “willfully abused” their

authority, or “failed to enforce” applicable laws and regulations “without reasonable

justification or excuse.” 15 U.S.C. § 78s(h)(4)(B). The SEC’s other review functions

are similarly circumscribed.

      49.    FINRA’s acquisition and deployment of core executive power, immune

from Presidential oversight, impermissibly impedes and undermines the President’s

ability to perform his constitutional duties and prerogatives. As a result, the operation

of FINRA, as well as its implementation of responsibilities delegated to it by the SEC

and the Maloney Act, violates the separation of powers.

IV.   FINRA’s hierarchy and its in-house tribunals violate the Appointments
      Clause

      50.    Because FINRA is an agency and/or instrumentality of the United

States, and because, as described in the preceding paragraphs, its Board exercises

significant authority pursuant to the laws of the United States, FINRA’s Board

members are officers of the United States whose appointments must comply with the

Appointments Clause of the United States Constitution (art. II, sec. 2).



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       51.    The Appointments Clause provides in relevant part that the President

“shall nominate, and by and with the Advice and Consent of the Senate, shall appoint

Ambassadors, other public Ministers and Consuls, Judges of the supreme Court, and

all other Officers of the United States, whose Appointments are not herein otherwise

provided for, and which shall be established by Law: but the Congress may by Law

vest the Appointment of such inferior Officers, as they think proper, in the President

alone, in the Courts of Law, or in the Heads of Departments.”

       52.    By virtue of the discretion, duties, functions, and independence of the

FINRA Board, members of the FINRA Board are principal officers whose

appointments must be made by the President with the advice and consent of the Senate

as is required in relation to other government agencies. Accordingly, the selection of

the FINRA Board by its membership violates the Appointments Clause.

       53.    In the alternative, the members of the FINRA Board are inferior officers

whose appointments must be made by the President, a court of law, or the head of a

department. Because FINRA’s membership is not a department within the meaning

of the Clause, the appointment of the FINRA Board violates the Appointments

Clause.

       54.    Those who officiate over disciplinary proceedings, Officers from

FINRA’s Office of Hearing Officers, possess power and authority beyond that of a

mere employee or functionary and exercise significant duties and discretion, akin to

that of federal trial judges.




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      55.    Hearing Officers render decisions that can result not only in substantial

penalties but also in the closure of an entire firm or the barring of an individual,

impacting the property and livelihood of FINRA members.

      56.    Hearing Officers’ decisions, like those of Administrative Law Judges of

the Securities and Exchange Commission, may become final and effective without any

further consideration or review.

      57.    FINRA Hearing Officers are therefore “officers of the United States”

within the meaning of the Appointments Clause, not mere employees.

      58.    Under the Appointments Clause, even “inferior Officers,” must be

appointed by “the President, in the Courts of Law, or in the Heads of Departments.”

      59.    FINRA’s Hearing Officers are chosen by FINRA staff and are not

appointed in the manner prescribed by the Appointments Clause. Their actions and

decisions are therefore unconstitutional and invalid.

V.    By virtue of FINRA’s unconstitutional hierarchy and structure, FINRA
      members and investors have been and will continue to be harmed.

      60.    FINRA’s unconstitutional leadership has caused and/or permitted a

disintegration of FINRA’s self-regulatory status and an escalation of aggressive,

arbitrary, and discriminatory actions against certain of its members, resulting in

damage to and closure of firms and harm to investors. Under FINRA’s unlawful

governance, it has targeted and badgered individuals and entities operating in the

microcap markets like Plaintiffs to the point where it is choking off one of the few

methods of financing for start-up and developing companies. Its investigative and



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enforcement actions, while purportedly justified by FINRA’s claim that it is protecting

investors, actually defy the fundamental view that disclosure is the cornerstone of

securities regulation; instead, it assumes that investors are naifs, incapable of assessing

and understanding the risk and potential reward associated with the microcap markets

and is thereby depriving investors of the ability to make their own investment decisions

      A.     FINRA fails to provide fair representation to its members

      61.    15 U.S.C. § 78o-3(b)(4) requires the rules of a registered securities

association to “assure a fair representation of its members in the selection of its

directors and administration of its affairs.”

      62.    FINRA’s rules do not assure a fair representation of its members in the

selection of its directors and administration of its affairs because the rules require the

majority of FINRA’s Board, as well as critical committees of FINRA and the NAC,

not to be associated with its members.

      63.    As observed by SEC Commissioner Hester Peirce, “FINRA is not a self-

regulator. Its members are not regulating themselves; they are being regulated by

FINRA, just as they are regulated by the SEC.” Hester Peirce, The Financial Industry

Regulatory Authority: Not Self-Regulation After All, Mercatus Center of George Mason

University at 27 (Jan. 2015); McLaughlin, Is FINRA Constitutional?, 43 Sec. Reg. and

L. Rep. 681 (Mar. 28 2011) (“far from being ‘members’ of FINRA comparable to the

former owners of seats in the NYSE and their associates, securities firms are today

the functional equivalent of regulated entities with little or no input into FINRA’s




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regulatory policy or corporate governance”); David R. Burton, Reforming FINRA,

Backgrounder No. 3181 at 2, Heritage Foundation, Feb. 1, 2017.

      64.    Although FINRA’s predecessor organizations were once truly “self-

regulatory”, that has transformed over the years such that FINRA is not. Pursuant to

both its articles of incorporation and its bylaws, the number of its “public governors”

(those not chosen by the industry) “shall exceed the number of Industry Governors.”

Thus, the industry does not control FINRA. And because the industry does not

control FINRA, it is inappropriate to regard FINRA as an SRO. See Burton,

Reforming FINRA, Backgrounder No. 3181 at 2;                McLaughlin, Is FINRA

Constitutional?, 43 Sec. Reg. and L. Rep. 681 (Mar. 28 2011) (“far from being

‘members’ of FINRA comparable to the former owners of seats in the NYSE and

their associates, securities firms are today the functional equivalent of regulated

entities with little or no input into FINRA’s regulatory policy or corporate

governance”);.

      65.    Similar requirements have developed regarding the composition of

critical FINRA committees such that industry members now occupy only a minority

position in relation to regulatory actions and review of disciplinary matters.

      66.    FINRA’s transformation has been characterized by—and is particularly

unseemly because of—its aggressive posturing to avoid accountability to its

membership, the SEC, Congress or the courts. As SEC Commissioner Pierce

emphasized, the member firms over which “FINRA exerts meaningful control …




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given the statutory requirement for membership” have only a limited ability to

influence FINRA:

      Broker-dealers in the United States are regulated by the Financial
      Industry Regulatory Authority (FINRA). Although commonly perceived
      to be a self-regulator, FINRA is not accountable to the industry in the
      way a self-regulator would be. Nor is it accountable to the public,
      Congress, the president, or the courts. FINRA’s structure and monopoly
      status shield it from close oversight. Consequently, an important part of
      the securities markets is under the control of a regulator with limited
      accountability.

Hester Peirce, The Financial Industry Regulatory Authority: Not Self-Regulation After All,

Mercatus Center of George Mason University, Abstract (Jan. 2015).

      67.    Former SEC Commissioner Daniel M. Gallagher expressed similar

concerns regarding FINRA’s lack of influence from its members in combination with

its efforts to compete with the SEC in terms of prosecutorial activity:

      This decrease in the “self” aspect of FINRA’s self-regulatory function has
      been accompanied by an exponential increase in its regulatory output. As
      FINRA acts more and more like a deputy SEC, concerns about its
      accountability grow more pronounced.

Burton, Reforming FINRA, Backgrounder No. 3181 at note 55; see Hammond, Double

Deference in Administrative Law, 116 Columbia L. Rev. 1705, 1771 (November 2016)

(“the combination of oversight agencies’ deference to SROs and judicial deference to

oversight agencies undermines both the constitutional and regulatory legitimacy of

SROs”).

      68.    As such, it is clear that FINRA is not controlled by the industry and

cannot be properly characterized as a “self” regulator. FINRA has been transformed




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into an agency that is no longer regulated by its members, that does not comport with

the enabling provisions, and that lacks statutory authority for its actions.

       B.     FINRA does not provide a fair procedure for discipline of members

       69.    FINRA’s lack of accountability is exacerbated by its insistence that it

occupies a hybrid status, asserting and embracing the benefits of governmental

immunity, like the SEC, while abjuring the obligations of the government including due

process of law:

       Like Schrodinger’s cat, simultaneously dead and alive, FINRA is, under
       current rulings, both a state actor (for purposes of barring liability and for
       tax purposes) and, generally, not a state actor (for purposes of absolving
       it of due process and other requirements and for liability purposes).

Burton, Reforming FINRA, Backgrounder No. 3181 at 3; see also Marianne K. Smythe,

“Government Supervised Self-Regulation in the Securities Industry and the Antitrust

Laws: Suggestions for an Accommodation,” 62 N.C.L. Rev. 475, 483 1984; Free

Enterprise Fund v. Public Company Accounting Oversight Board, 130 S. Ct. 3138 (2010);

94 McLaughlin, Is FINRA Constitutional?, 43 Sec. Reg. and L. Rep. 681 (Mar. 28 2011);

Standard Inv. Chartered, Inc. v. Nat’l Ass’n of Sec. Dealers, 637 F.3d 112, 114–15 (2d Cir.

2011), cert. denied, 132 S. Ct. 1093 (2012); Richard L. Stone & Michael A. Perino,

Not Just a Private Club: Self-Regulatory Organizations as State Actors When Enforcing Federal

Law, 1995 Colum. Bus. L. R. 453. For a discussion of immunity as it has been applied

in the SRO context, see Rohit A. Nafday, From Sense to Nonsense and Back Again: SRO

Immunity, Doctrinal Bait-and-Switch, and a Call for Coherence, 77 U. Chi. L. Rev. 847,

847-85 (2010); Roberta S. Karmel, Should Securities Industry Self-Regulatory Organizations


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Be Considered Government Agencies?, 14 Stan. J.L. Bus. & Fin. 151, 156 (2008) ("The

problem of a delegation by a [government] agency, which is itself exercising statutorily

delegated powers, to a private standard setting body like FINRA [for example] further

confounds the question of whether the private body either is exercising delegated

governmental power or is, indeed, a government entity. Yet, such privatization of

governmental functions has become increasingly common." (citing, John J. Dilulio,

Jr., Response Government by Proxy: A Faithful Overview, 116 Harv. L. Rev. 1271 (2002);

Jody Freeman, The Private Role in Public Governance, 75 N.Y.U. L. Rev. 543 (2000);

Gillian E. Metzger, Privatization as Delegation, 103 Colum. L. Rev. 1367 (2003); Steven

J. Schwartz, Private Ordering, 97 Nw. U. L. Rev. 319 (2002)); Burton, Reforming FINRA,

Backgrounder No. 3181 at 2 (“While it serves a governmental function and has

coercive power, including the ability to completely bar firms and individuals from the

marketplace, it is not subject to any of the normal transparency, regulatory review or

due process protections normally associated with government.”)

      70.    15 U.S.C. § 78o-3(b)(8) requires the rules of a registered securities

association to “provide a fair procedure for the disciplining of members and persons

associated with members….”

      71.    FINRA’s rules do not provide for a “fair procedure for disciplining

members and persons associated with members.”

      72.      In fact, FINRA’s rules do not even provide its members and associated

persons with basic components of due process of law.




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      73.       FINRA, claiming that it is not a government agency, expressly eschews

any obligation to provide due process of law. As it wields massive power in the

securities industry and pursues actions based on delegated authority from the SEC, it

insists that it is not subject to governmental obligations like due process of law, and its

position impacts and skews the entire breadth of its enforcement activity.

      74.    FINRA does not apply the most basic rules of evidence in its proceedings

and so, for example, paid FINRA employees are permitted to recount to a hearing

panel layer upon layer of hearsay testimony regarding conversations supposedly had

with investors and other regulators.

      75.    Those who preside over FINRA’s enforcement actions are employees of

and paid by FINRA or its affiliated entities and the proceedings fail to provide for any

right to a trial by a jury in violation of the Seventh Amendment, even where the

allegations sound in fraud or other claims for which a jury trial is afforded under the

law. Its disciplinary proceedings are conducted by its Office of Hearing Officers so

those hearing officers are subject to the inherent pressure and conflict of interest that

flows from being employed by one of the two litigants.

      76.    Further, FINRA assigns those hearing officers to matters in ways that not

only are completely opaque but also fail even to comply with the few protections that

are afforded to a respondent under FINRA’s own rules.

      77.    FINRA also fails to recognize a Fifth Amendment privilege in its

proceedings, forcing individuals to answer questions during FINRA proceedings by

threatening to bar them from the industry, i.e., deprive them of their livelihood,

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thereby creating and untenable and illegal scenario in which one constitutional right

must be sacrificed to preserve a separate and distinct constitutional right.

      78.     And FINRA’s purported review process, which again relies on review

by individuals paid by FINRA, is so insubstantial that the SEC passed a rule requiring

firms to book adverse FINRA awards as a liability despite the pendency of an appeal

because the "grounds for revision on appeal are very limited." See NASD Notice to

Members 00-63.

      79.     FINRA holds seemingly unfettered power over market participants, yet

it fails to abide by the basic constraints and protections that serve to limit agency

action and preserve the critical and constitutional rights of those subject to its

authority.

      80.    As noted in connection with FINRA’s efforts to further expand its

authority:

      FINRA’s status as a nongovernmental regulator, however, enables it to
      avoid the scrutiny and procedural requirements to which a government
      agency performing the same tasks would be subject. Before FINRA
      succeeds in further expanding its regulatory footprint by taking on
      additional responsibilities, policymakers should revisit the long-debated
      questions about whether self-regulation works in its current
      manifestation and, if not, what should be done about it. One option
      would be to acknowledge that FINRA looks a lot like the SEC and
      accordingly fold FINRA into the SEC. Alternatively, FINRA could be
      remade into an organization that is run by the industry it regulates. In
      other words, FINRA could become a true self-regulator. Competing
      SROs might emerge to tailor regulation to a particular group of firms,
      such as smaller broker-dealers. Another option would be to enhance
      FINRA’s public disclosure and procedural obligations. Procedural
      requirements should include a clear requirement to conduct and
      document economic analysis and greater procedural protections in
      connection with disciplinary actions.

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Hester Pierce, The Financial Industry Regulatory Authority: Not Self-Regulation After All,

Mercatus Center of George Mason University, at 27-28 (Jan. 2015) (footnotes

omitted).

      81.    In combination, FINRA’s positions lead to a pernicious and destructive

result: FINRA is not a regulator who must provide due process protections, but it is

also supposedly not a private actor who may be sued for damages. It is unaccountable

and immune at every turn.

      82.    Worse yet, FINRA has achieved this result all the while it enforces

federal securities laws and punishes broker-dealers for alleged violations of those laws

by, among other things, stripping broker-dealers of their ability to conduct any

business in the absence of protections guaranteed by the Due Process Clause.

VI.   FINRA stifles competition, harms consumers and has caused and will
      continue to cause injury to Plaintiffs.

      83.    FINRA is required to act in a manner that is not discriminatory and that

does not impose any undue burden on competition.

      84.    Yet, FINRA’s actions in relation to Plaintiffs have been especially prolific

and the events surrounding those proceedings illustrate the skewed and broken

enforcement process that exists within FINRA.

      85.     Beginning in May 2015, FINRA sought to sanction SCA for supposed

violations of Section 5 of the Securities Act of 1933 (the “1933 Act”). Its determined

enforcement efforts lasted over five years and included an affirmance by FINRA’s




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National Adjudicatory Council (“NAC”), before the matter reached the SEC, in

September 2021.

      86.     In a remarkable rebuke of the approaches used by FINRA and by the

NAC to procure and then to affirm the findings of violations, the Commission set aside

all findings of violations and all sanctions as against all defendants. With respect to

John Hurry, the indirect owner of SCA, the Commission found that the NAC, in the

appeal, developed and relied on a new theory of liability that was “untethered from

any alleged violation of Section 5.” Scottsdale Capital Advisors Corp., et al., Exchange

Act Release No. 932021 WL 4242630 at *9. The NAC thereby “deprived [Mr. Hurry] of

a fair opportunity to rebut the theory under which he was held liable.” Id. (emphasis

added).

      87.     Perhaps more concerning, the Commission found that FINRA relied on

incorrect legal standards in its assertions of violations of Section 5 and that “the NAC

incorrectly applied these legal standards” that should govern the application of that

provision. Id. at *12. The NAC thereby “failed to discharge its duty to fairly and

accurately explain the basis for the finding that Scottsdale committed a violation.” Id.

at *13.

      88.     The Commission also concluded that FINRA’s findings of supervisory

violations by SCA representatives was unsupported by the record evidence and error.

The Commission noted, for example, that “the NAC decision states, and FINRA

maintains before the Commission” that there was certain testimony relating to




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Respondent Tim DeBlasi. Id. at *14. But there was not; “the evidence shows that

another official at the firm” had responsibility for Section 5 compliance. Id. At 15.

         89.   And finally, while FINRA argued and the NAC found that respondents

“failed to supervise properly the firm’s microcap liquidation business” (Id. at *15), the

Commission held that there was extensive testimony concerning the firm’s due

diligence process and its analysis, confirming that the firm had “a process reasonably

designed to ascertain whether an exemption was available.” Id. at 16. Because FINRA

failed to establish that “supervision of the due diligence process was unreasonable,”

the Commission also set aside findings of claimed violations of Rule 3010. Id. at *17.

         90.   FINRA, as it pursues disciplinary proceedings, fails to provide due

process of law, a neutral arbiter or a right to jury guaranteed by the Seventh

Amendment, even where the charges sound in fraud. And worse, FINRA ignores and

fails to apply the few protections that are afforded to respondents, and can avoid any

effort by a member to enforce either the membership agreement or FINRA’s own

rules.

         91.   Plaintiffs’ experiences are just examples of how FINRA’s unjustified

actions have and will continue to result in damage and injury to Plaintiffs and other

FINRA members including increased regulatory, compliance and legal costs,

substantial loss of business and revenue, reputational damage, and millions of dollars

in attorneys’ fees. While Plaintiffs have the resources to bear these costs, FINRA’s

increasingly onerous compliance requirements have driven many small broker-dealers

out of business.

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VII. A declaration from this Court is the only remedy available to check FINRA’s
     powers.

      92.    Despite its characterization as a “self-regulatory” organization, FINRA

is anything but. Indeed, FINRA’s members are incapable of exerting any meaningful

control of or change to the entity, and FINRA’s articles and bylaws—requiring that

the majority of its Board be comprised of non-industry members—ensure that it will

remain that way.

      93.    Nevertheless, this “self-regulatory” organization has expansive power to

regulate the entire broker-dealer securities industry subjecting each person and entity

in that industry, including Plaintiffs, to FINRA’s rules, regulations, obligations,

requirements, fines, fees, and enforcement actions.

      94.    FINRA’s very existence and its exercise of unbridled and unchecked

powers violates the United States Constitution. FINRA’s members are powerless to

effectuate change within the organization. Thus, the Court is the only forum that

affords the opportunity for relief.

      95.    All conditions precedent to the bringing and maintenance of this action

and the granting of the relief requested have occurred, have been performed, or have

been waived.

      96.    Plaintiffs have obtained undersigned counsel to represent them in this

action and are obligated to pay their attorneys a reasonable fee for the services

rendered.




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                                   COUNT I
(Violation of the Separation of Powers — Improper Exercise of Executive Power)

      97.    Plaintiffs reallege paragraphs 1 through 96.

      98.    The Constitution provides that “[t]he executive Power shall be vested in

a President of the United States,” U.S. Const., art. II, § 1, and that “he shall take Care

that the Laws be faithfully executed,” U.S. Const., art. II, § 3. These provisions vest

all executive power, including the power to enforce the law, in the President of the

United States.

      99.    As set forth above, FINRA exercises wide-ranging executive power,

including the power to “enforce compliance” with the Act and the securities laws, to

enact wide-ranging rules and regulations, to conduct inspections of brokers and

dealers, to conduct investigations and disciplinary proceedings, and to impose

sanctions and otherwise to enforce compliance with the Act, the rules of FINRA,

professional standards, and the securities laws.

      100. FINRA’s wide-ranging exercise of executive or administrative power is

immune from Presidential supervision or control. FINRA’s Board of Governors are

not appointed or removable by the President; rather, they are selected by FINRA’s

members.

      101. Even the SEC has limited authority review of FINRA’s actions. The SEC

may remove FINRA’s Board of Governors only if they have “willfully violated”

applicable laws or regulations, “willfully abused” their authority, or “failed to enforce”

applicable laws and regulations “without reasonable justification or excuse.”



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15 U.S.C. § 78s(h)(4)(B). The SEC’s other review functions are similarly

circumscribed.

      102. FINRA’s exercise of wide-ranging, core executive power, immune from

Presidential oversight, impermissibly impedes and undermines the President’s ability

to perform his constitutional duties and prerogatives. As a result, the creation of

FINRA, as well as its implementation of its delegated responsibilities by the SEC and

the Maloney Act, violates the separation of powers.

                                   COUNT II
         (Violation of the Appointments Clause of the U.S. Constitution)

      103. Plaintiffs reallege paragraphs 1 through 96.

      104. FINRA is a public entity and/or an agency and/or an instrumentality of

the United States subject to the constraints imposed on the federal government by the

Constitution.

      105. Because FINRA is an agency and/or instrumentality of the United

States, and because, as described in the preceding paragraphs, its Board of Governors

exercise significant authority pursuant to the laws of the United States and are

therefore officers of the United States whose appointments must comply with the

Appointments Clause of the United States Constitution (art. II, sec. 2).

      106. The Appointments Clause provides in relevant part that the President of

the United States “shall nominate, and by and with the Advice and Consent of the

Senate, shall appoint Ambassadors, other public Ministers and Consuls, Judges of the

supreme Court, and all other Officers of the United States, whose Appointments are



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not herein otherwise provided for, and which shall be established by Law: but the

Congress may by Law vest the Appointment of such inferior Officers, as they think

proper, in the President alone, in the Courts of Law, or in the Heads of Departments.”

      107. By virtue of the wide-ranging discretion, duties, functions and

independence of the FINRA Board, members of the Board are principal officers whose

appointments must be made by the President by and with the advice and consent of

the Senate. Accordingly, the selection of the FINRA Board by its membership violates

the Appointments Clause.

      108. In the alternative, the members of the FINRA Board are inferior officers

whose appointments must be made by the President, a court of law, or the head of a

department. Because FINRA’s membership is not a department within the meaning

of the Clause, the appointment of the FINRA Board by its membership violates the

Appointments Clause.

                                    COUNT III
                            (Unconstitutional Delegation)

      109. Plaintiffs realleges paragraphs 1 through 96.

      110. The Constitution provides that “[a]ll legislative Powers herein granted

shall be vested in a Congress of the United States.” U.S. Const. art. I, § 1.

      111. By virtue of the grant of wide-ranging authority the SEC delegated to the

FINRA Board, the Act improperly and unconstitutionally delegates legislative power

to an entity outside the Legislative Branch.




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       112. This delegation is unconstitutional if the FINRA Board is deemed part

of the federal government and is even more problematic if the FINRA Board is deemed

to be a private entity.

                                 PRAYER FOR RELIEF

   WHEREFORE, Plaintiffs pray for the following relief:

       1.     An order and judgment declaring unconstitutional the provisions

              of law empowering FINRA to enforce compliance with the

              securities laws;

       2.     An order and judgment enjoining FINRA from carrying out any

              of the powers delegated to them by Congress or the SEC;

       3.     An order and judgment pursuant to 28 U.S.C. §§ 2201, 2202

              declaring that FINRA is presently constituted and operating in a

              manner that violates the separation of powers set forth in the

              Article II of the Constitution;

       4.     An order and judgment pursuant to 28 U.S.C. §§ 2201, 2202

              declaring that FINRA, in its exercise of disciplinary functions, is a

              state actor and subject to the obligation to respect the rights

              guaranteed under the Unites States Constitution;

       5.     Costs and attorneys’ fees pursuant to any applicable statute or

              authority;

       6.     Such further relief as this Court deems just and appropriate.




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